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 1   Bernardo Cruz                                                         The Honorable John C. Coughenour
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 7

 8
                                 UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9
     BARBARO ROSAS and GUADALUPE                          CLASS ACTION
10   TAPIA, as individuals and on behalf of all
     other similarly situated persons,                    JURY DEMANDED
11
                                   Plaintiffs,            No. 18-CV-00112
12                 vs.
                                                          FIRST AMENDED COMPLAINT FOR
13   SARBANAND FARMS, LLC, MUNGER                         DAMAGES AND INJUNCTIVE RELIEF
     BROS., LLC., NIDIA PEREZ, and CSI VISA
14   PROCESSING S.C.,
15                                 Defendants.
16
                                      PRELIMINARY STATEMENT
17
            1.      This is an employment law class action on behalf of over 600 foreign H-2A farm
18
     workers who allege that Defendants Sarbanand Farms, and its parent company Munger Bros.,
19
     violated federal anti-trafficking laws through a pattern of threats and intimidation that caused its
20
     H-2A workforce to believe they would suffer serious harm unless they fully submitted to
21
     Sarbanand’s labor demands. This same pattern also created a hostile work environment based on
22
     the Plaintiffs’ national origin and violated their right to be free from discrimination in
23
     employment under Washington’s Law Against Discrimination.

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 1          2.      Sarbanand further violated anti-trafficking laws through a highly-orchestrated

 2   mass firing and eviction of approximately 70 H-2A workers, under threat of arrest by police and

 3   immigration authorities. Those actions, taken after a one-day strike to improve safety and health

 4   conditions after co-worker Honesto Ibarra was taken by ambulance to an emergency room and

 5   later died, violated the workers’ right to engage in concerted activity and further intimidated

 6   Sarbanand’s remaining H-2A workforce to provide labor or face serious financial harm.

 7          3.      Plaintiffs also allege that Defendants CSI and Nidia Perez, unlicensed and un-
 8   bonded farm labor contractors, violated the Washington Farm Labor Contractor Act (FLCA)
 9   because they failed to disclose unlawful hourly production standards and failed to inform
10   Plaintiffs they would have to pay for meals above and beyond the $12 a day Sarbanand deducted
11   from each H-2A workers’ paycheck for that purpose. Defendants Munger and Sarbanand are
12   jointly liable for all FLCA violations because they knowingly used unlicensed contractors.
13                                   JURISDICTION AND VENUE
14
            4.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 (Federal
15
     Questions).
16
            5.      This Court has jurisdiction over this action pursuant to 18 U.S.C. §1595(a)
17
     (TVPA).
18
            6.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1367
19
     (Supplemental Jurisdiction).
20
            7.      The proper venue for this action is in the Western District of Washington pursuant
21
     to 28 U.S.C. § 1391.
22

23

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 1                                              PARTIES

 2          8.      Plaintiff Barbaro Rosas lives in the state of Nayarit, Mexico and was employed by

 3   Defendants as an H-2A worker in 2017 until fired on August 5, 2017.

 4          9.      Plaintiff Guadalupe Tapia lives in the state of Guanajuato, Mexico and was
 5   employed by Defendants as an H-2A worker in 2017 until fired on August 5, 2017.
 6
            10.     Defendant Sarbanand Farms, LLC is a Washington corporation with its principal
 7
     place of business in Sumas, Washington located in Whatcom County.
 8
            11.     Defendant Munger Bros., LLC is a California corporation with its principal place
 9
     of business in Delano, California.
10
            12.     Defendant Nidia Perez, is a resident of California and at all relevant times was an
11
     agent of Munger Bros.
12
            13.     Defendant CSI Visa Processing S.C. is a Mexican company with its principal
13
     place of business in Durango, Mexico.
14
                                          STATEMENT OF FACTS
15
            14.     The plaintiffs are Mexican Nationals who worked for Munger Bros. and
16
     Sarbanand Farms as foreign H-2A agricultural workers during the 2017 blueberry harvest.
17
            15.     Munger Bros., LLC is owned by two brothers, Kewel and Baldev Munger.
18
            16.     Sarbanand Farms, LLC is a wholly-owned subsidiary of Munger Bros, LLC.
19
            17.     Upon information and belief, Munger and Sarbanand share financial, logistical,
20
     and administrative resources.
21

22          18.     Robert Hawk is president and chief executive officer of Munger.

23          19.     Cliff Woolley is chief administrative officer of Munger.


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 1          20.    Munger is the number one producer of fresh blueberries in the world.

 2          21.    Munger has more than 3,000 acres of blueberries in Washington, Oregon,
 3   California, British Columbia, and Mexico.
 4
            22.    CSI Visa Processing S.C. is a farm labor contractor that supplies H-2A workers
 5
     from Mexico to agricultural employers in the United States.
 6
            23.    Guillermo Mathus is the president of CSI Visa Processing, S.C. based in Durango,
 7
     Mexico.
 8
            24.    CSI has multiple offices in Mexico to meet with workers and discuss H-2A
 9
     employment opportunities in the United States.
10
            25.    Since at least 2012, CSI staff, including its president, have regularly met with
11
     Washington agriculture entities in Washington state to encourage them to hire CSI to import H-
12
     2A workers from Mexico.
13
            26.    Those business meetings were arranged by a state-wide grower organization
14
     called WAFLA, Washington state’s largest supplier of H-2A workers.
15
            27.    Since at least 2012, CSI staff have emailed Washington agricultural employers
16
     about the company’s services.
17
            28.    Since at least 2012, CSI staff have arranged for Washington agricultural
18
     employers to come to Mexico to recruit H-2A workers for Washington state.
19
            29.    Since at least 2013, CSI has regularly purchased advertising in WAFLA’s annual
20
     reports that are provided to agricultural employers throughout Washington state and posted on
21
     WAFLA’s web-site.
22

23

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 1          30.     In those advertisements, CSI touted itself as the “best option” to locate, select,

 2   orient, transport, and process H-2A workers from Mexico.

 3          31.     In those advertisements, CSI stated the company “is the reliable and reputable H2
 4   agent you need.”
 5
            32.     WAFLA’s 2013 Annual Report informed agricultural employers that having an
 6
     agent like CSI in the H-2A worker’s home country was “critical.”
 7
            33.     WAFLA’s 2013 Annual Report informed agricultural employers “the agent is the
 8
     link to your foreign workforce” that can recruit workers and “explain the job in detail.”
 9
            34.     In February 2013, CSI and WAFLA staff conducted a joint presentation to 3,500
10
     prospective H-2A workers in Nogales, Mexico where the main message was the opportunities
11
     available “if they are part of the H-2A program and recruited to Washington state to work.”
12
            35.     Later in 2013, a WAFLA staff member travelled to Colima, Mexico to observe
13
     CSI staff recruit H-2A workers for two different agricultural employers in Washington state.
14
            36.     Since at least 2014, CSI has contracted directly with WAFLA, to provide labor
15
     recruiting services in Mexico.
16
            37.     Upon information and belief, during the entire contractual relationship, WAFLA
17
     had a valid Washington farm labor contractor’s license, but CSI did not.
18
            38.     Since at least 2014, CSI staff have regularly traveled to Washington state to train
19
     agricultural entities in conjunction with WAFLA about the H-2A visa program requirements.
20
            39.     In 2014, CSI sponsored WAFLA’s Workforce Summit in Kennewick,
21
     Washington.
22

23

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 1          40.     In January 2014, CSI’s president, Guillermo Mathus, traveled to Washington state

 2   and attended WAFLA’s conference as a featured speaker.

 3          41.     Since approximately late 2015 or early 2016, CSI has had at least one full-time
 4   employee, Roxana Macias, living and working in Washington state.
 5
            42.     Prior to starting work with CSI, Roxana Macias worked for three years at
 6
     WAFLA as the H-2A Program Manager where she developed extensive contacts with
 7
     Washington agricultural entities.
 8
            43.     Roxana Macias’s business card identifies her as the Director of Compliance for
 9
     CSI Visa Processing.
10
            44.     In 2016, CSI sponsored WAFLA’s Workforce Summit in Ellensburg,
11
     Washington.
12
            45.     In January 2016, Guillermo Mathus traveled to Washington state and attended
13
     WAFLA’s conference as a featured speaker.
14
            46.     Mr. Mathus’s 2016 biography stated his primary role at CSI was “the recruitment
15
     and evaluation of new and potential candidates for temporary H2 positions.”
16
            47.     Mr. Mathus’s 2016 biography stated that he “has been working with H2
17
     employers and workers for over 13 years.”
18
            48.     Roxana Macias also attended the 2016 WAFLA conference in Ellensburg,
19
     Washington and was a featured speaker.
20
            49.     Ms. Macias’s 2016 biography stated her role at CSI was to “ensure all parties
21
     involved in recruitment of H2 workers abide by all applicable laws and regulations.”
22

23

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 1          50.     Later in 2016, Ms. Macias attended meetings with WAFLA’s grower members to

 2   discuss CSI’s services and recruit agricultural employers to expand CSI’s business opportunities

 3   in Washington state.

 4          51.     In January 2017, CSI created a Washington limited liability corporation that was
 5   registered with the Washington State Secretary of State called CSI Visa Processing USA, LLC.
 6          52.     According to the Washington Secretary of State’s corporation filings, CSI Visa
 7
     Processing USA, LLC had a business address 1610 Pacific Ridge Drive SE, Olympia, WA.
 8
            53.     Roxana Macias was the number one executor listed on CSI USA’s application to
 9
     the Secretary of State and provided the same address in Olympia, Washington.
10
            54.     The only other two executors listed on the Secretary of State application were
11
     Guillermo Mathus and Tania de la Fuente.
12
            55.     Tania de la Fuente’s business card lists her as the General Manager for CSI S.C.
13
     based in Monterrey, Mexico.
14
            56.     The Initial Report filed with the Secretary of State states the nature of CSI USA’s
15
     business is to “engage in assisting entities in the processing of H2 agriculture visa non immigrant
16
     workers.”
17
            57.     In January 2018, Ms. Macias attended WAFLA’s annual training in Wenatchee,
18
     Washington and was a featured speaker.
19
            58.     In 2006, Munger used the H-2A agricultural labor program to import foreign
20
     labor to harvest blueberries in California.
21
            59.     Upon information and belief, after 2006 Munger did not import H-2A workers to
22
     work in the California blueberry harvest until 2017.
23

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 1           60.    In 2015 and 2016, Sarbanand or Munger hired WAFLA to import H-2A workers

 2   for its Washington state blueberry harvest.

 3           61.    In 2017, Sarbanand stopped contracting with WAFLA and used CSI and Nidia
 4   Perez to import H-2A workers for its Washington state blueberry harvest.
 5
             62.    Prior to 2017, Munger and Sarbanand knew that H-2A foreign workers obtained
 6
     non-immigrant work visas that strictly limit employment within the United States.
 7
             63.    Prior to 2017, Munger and Sarbanand knew that H-2A foreign workers employed
 8
     by them in the United States could not legally leave their worksite and seek work at other farms.
 9
             64.    Prior to 2017, Munger and Sarbanand knew that H-2A foreign workers came from
10
     impoverished backgrounds.
11
             65.    Prior to 2017, Munger and Sarbanand knew that H-2A foreign workers who were
12
     fired from their H-2A jobs in the United States would not be re-hired by Munger the following
13
     year.
14
             66.    Prior to 2017, Munger and Sarbanand knew that H-2A foreign workers feared
15
     blacklisting from future H-2A employment in their home countries.
16
     Sarbanand’s Use of H-2A Workers in 2015 and 2016
17
             67.    In 2015 and 2016, Sarbanand or Munger contracted with WAFLA to prepare and
18
     file its H-2A application with the federal government.
19
             68.    In 2015, WAFLA applied for 248 H-2A foreign workers to harvest and pack
20
     blueberries in Washington state for Sarbanand Farms for approximately four months - from July
21
     4 - November 2.
22

23

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 1          69.       In 2016, WAFLA applied for 475 H-2A workers to harvest and pack blueberries

 2   in Washington state for Sarbanand Farms, nearly double the amount requested in 2015.

 3          70.       Sarbanand ultimately filed two H-2A contracts in 2016 – one for three months
 4   (July 4-October 5), and the other for less than three months (July 23-October 15).
 5
            71.       In 2015 and 2016, upon information and belief, WAFLA contracted with CSI to
 6
     recruit H-2A workers in Mexico to fill the labor needs of Sarbanand Farms in 2015 and 2016.
 7
            72.       Plaintiffs and many of the putative class members worked as H-2A workers for
 8
     Sarbanand in 2016 in Washington state from July to October.
 9
            73.       Munger’s California farms, which harvest blueberries from mid-May to the end of
10
     June, did not use the H-2A program in 2015 or 2016 and none of the plaintiffs or putative class
11
     members worked at Munger’s blueberry farms in California during those two years.
12
     Munger’s 2017 California H-2A Applications
13
            74.       In 2017, Sarbanand and Munger ended their contractual relationships with
14
     WAFLA and decided to apply directly to the federal government to import H-2A workers.
15
            75.       In 2017, Sarbanand and Munger decided to expand the use of H-2A workers by
16
     employing them first in California in May and June and then in Washington from July to
17
     October.
18
            76.       In March of 2017, Munger and another entity called Crowne Cold Storage, LLC
19
     applied directly to the United States Department of Labor to bring in over five hundred (500)
20
     foreign H-2A workers to harvest and pack blueberries in California between May 15, 2017 and
21
     June 30, 2017.
22
            77.       Cliff Woolley signed the March 2017 H-2A applications on behalf of Munger and
23
     Crowne Cold Storage.
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 1          78.     As part of the March 2017 H-2A applications, Munger assured the federal

 2   government that it would comply with all federal and state employment laws.

 3          79.     In 2017, Munger contracted with and paid a fee to CSI to supply Mexican H-2A
 4   workers to harvest blueberries in California and then be transferred to Sarbanand in Washington.
 5
            80.     In 2017, Crowne Cold Storage contracted with and paid a fee to CSI to supply
 6
     Mexican H-2A workers to package blueberries in California and then be transferred to
 7
     Sarbanand in Washington.
 8
            81.     Nidia Perez signed the contract on behalf of Crowne Cold Storage.
 9
            82.     In 2017, CSI did not register with the Washington State Department of Labor and
10
     Industries as a farm labor contractor.
11
            83.     In 2017, Munger and Sarbanand failed to inquire from CSI whether it had a valid
12
     Washington state farm labor contractor license and review that license before using CSI’s
13
     services.
14
            84.     In 2017, CSI did not obtain a bond to operate as a licensed farm labor contractor.
15
            85.     In 2017, Nidia Perez was the primary contact with former Sarbanand workers in
16
     Mexico and CSI.
17
            86.     One of Ms. Perez’s primary contacts at CSI was Roxana Macias.
18
            87.     In 2017, Nidia Perez spoke with putative class members in Mexico by telephone
19
     to recruit them for the blueberry harvest.
20

21          88.     In 2017, Nidia Perez told putative class members in Mexico to go to the closest

22   CSI office to facilitate work in the blueberry harvest.

23

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 1          89.     In 2017, Nidia Perez provided CSI with a list of workers in Mexico for CSI to

 2   supply to harvest blueberries for Munger and package blueberries at Crowne Cold Storage.

 3          90.     Most of the workers on that list picked blueberries at Sarbanand in 2016 under an
 4   H-2A contract that only involved work in Washington state for three months between July and
 5   October.
 6          91.     Sarbanand or Sarbanand’s agent paid a fee to Nidia Perez to recruit H-2A workers
 7
     from Mexico who could work in the California blueberry harvest and then be transferred and
 8
     supplied to Sarbanand in Washington.
 9
            92.     In 2017, Nidia Perez did not register with the Washington State Department of
10
     Labor and Industries as a farm labor contractor.
11
            93.     In 2017, Nidia Perez did not obtain a bond to operate as a licensed farm labor
12
     contractor.
13
            94.     In 2017, Sarbanand failed to inquire whether Nidia Perez had a valid Washington
14
     state farm labor contractor license and review that license before using her services.
15
            95.     Working from that list, CSI contacted and supplied H-2A workers to Munger,
16
     Crowne Cold Storage, and Sarbanand to harvest and package blueberries in California and
17
     Washington.
18
            96.     In May 2017, Munger and Crowne Cold Storage imported over five hundred H-
19
     2A foreign workers from Mexico to harvest and package blueberries, including the plaintiffs.
20
            97.     All foreign H-2A workers were dependent on Munger to provide them with
21
     employment, food, shelter, and transportation.
22

23

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 1          98.     In 2017, a Munger manager told the foreign H-2A workers, “You came here to

 2   suffer, not for vacation.”

 3          99.     In 2017, Munger’s managers routinely threatened to send foreign H-2A workers
 4   home if they did not comply with work demands.
 5
            100.    In 2017, Munger’s managers routinely threatened to send foreign H-2A workers
 6
     home when they complained about working conditions.
 7
            101.    In 2017, Munger managers threatened to blacklist foreign H-2A workers who
 8
     were fired and sent home to Mexico.
 9
            102.    In 2017, Munger illegally terminated some foreign H-2A workers who questioned
10
     company practices and sent them back to Mexico.
11
            103.    In 2017, Munger managers knew that if they fired a foreign H-2A worker, that
12
     worker would have to pay for his own transportation home.
13
            104.    In 2017, Munger deducted over $12 per day from each of the H-2A foreign
14
     worker’s paychecks to finance daily food needs of the workers.
15
            105.    In 2017, Munger failed to provide sufficient food to its foreign H-2A workers
16
     working in California.
17
            106.    In 2017, Munger instituted a ticket policy that prevented H-2A workers from
18
     obtaining sufficient food.
19
            107.    In 2017, Munger’s owners, president, and managers were aware that H-2A
20
     foreign workers were being provided insufficient and unhealthy food in California.
21

22          108.    In 2017, H-2A foreign workers complained to Munger about insufficient and

23   unhealthy food.


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 1          109.    In 2017, H-2A foreign workers became ill while employed by Munger.

 2          110.    In 2017, Munger sent foreign H-2A workers who became ill back to Mexico and
 3   did not pay for their return transportation.
 4
            111.    In 2017, H-2A foreign workers who were injured while employed at Munger were
 5
     sent back to Mexico.
 6
            112.    In 2017, Munger’s H-2A foreign workers in California contributed personal funds
 7
     to help fired or sick co-workers return to Mexico.
 8
            113.    In 2017, the work visas issued for each of the H-2A foreign workers indicated it
 9
     was only valid from May until early July.
10
            114.    In 2017, the H-2A foreign workers expressed concern to Munger’s managers
11
     while they were in California that their visas were running out.
12
            115.    Munger managers told the foreign H-2A workers that the visas would be extended
13
     and valid when they arrived in Washington state, however, the plaintiffs received no evidence
14
     while they were employed that the visas were extended.
15
     Sarbanand’s 2017 Washington State H-2A Applications
16
            116.    Later in 2017, Munger applied to the federal Department of Labor to transfer its
17
     foreign H-2A workers from California to its subsidiary, Sarbanand Farms, in Washington state.
18
            117.    On May 2, 2017, Cliff Woolley signed an H-2A application on behalf of
19
     Sarbanand Farms.
20
            118.    The May 2, 2017 application sought five hundred and fifty-eight (558) foreign H-
21
     2A workers from July 10, 2017 through October 25, 2017 to harvest and pack blueberries.
22

23

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 1             119.   On May 12, 2017, Cliff Woolley signed a second H-2A application on behalf of

 2   Sarbanand Farms seeking an additional sixty (60) foreign H-2A workers for the same time

 3   period.

 4             120.   As part of both H-2A applications, Sarbanand included a job order written by the
 5   company containing all pay and work conditions.
 6             121.   As part of both H-2A applications, Sarbanand assured the federal government that
 7
     it would comply with all federal and state employment laws.
 8
               122.   The Department of Labor eventually approved the use of 618 foreign H-2A
 9
     workers to work at Sarbanand during the 2017 blueberry harvest.
10
               123.   At the end of the California blueberry harvest, Munger transferred hundreds of
11
     foreign H-2A workers, including the Plaintiffs, to its Sarbanand blueberry farms in Sumas,
12
     Washington.
13
               124.   Sumas, Washington is located on the border between the United States and
14
     Canada and has a heavy Border Patrol presence, including a staffed field office less than 3 miles
15
     from the farm.
16
               125.   Javier Sampedro, an upper-level manager at Sarbanand, routinely informed the
17
     foreign H-2A workers that he had connections with the Border Patrol.
18
               126.   Sarbanand managers repeatedly stated the new visas would show up shortly, but
19
     the visa extensions never materialized.
20
               127.   All foreign H-2A workers were housed in military-style bunk houses on the
21
     premises of Sarbanand Farms.
22
               128.   Sarbanand’s labor camp is surrounded by fencing.
23

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 1           129.   Sarbanand employed a security guard at the entrance to the labor camp and had a

 2   restricted entry policy.

 3           130.   In 2017, Sarbanand’s labor camp housing did not have individual cooking
 4   facilities.
 5   Sarbanand’s “Death Bed” No Sick Days Policy
 6
             131.   On or about July 10, 2017, Sarbanand required all foreign H-2A workers to come
 7
     to the dining hall to sign their H-2A contracts.
 8
             132.   The H-2A contracts are enforceable under Washington law.
 9
             133.   At that time and prior to the start of the 2017 blueberry harvest in Washington,
10
     Nidia Perez informed all H-2A foreign workers that “unless they were on their death bed”
11
     Sarbanand required them to work in the fields every day work was available.
12
             134.   Ms. Perez’s “death bed” speech had the intended effect of informing all the H-2A
13
     foreign workers that they were not allowed to take sick days at Sarbanand and they needed to
14
     show up for work every day or risk termination.
15
             135.   Ms. Perez’s “death bed” speech had the intended effect of informing all the H-2A
16
     foreign workers that they should not report sickness or workplace injuries to management.
17
     Sarbanand’s Use of Illegal and Unauthorized Production Standards
18
             136.   Prior to the 2017 blueberry harvest in Washington, Sarbanand knew the
19
     company’s H-2A job order, which the company wrote, did not have hourly or daily production
20
     standards.
21
             137.   Prior to the 2017 blueberry harvest in Washington, Sarbanand knew the
22
     company’s H-2A job order stated: “Workers may work at a sustained, vigorous pace and make
23

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 1   bona-fide efforts to work efficiently and consistently that are reasonable under the climatic and

 2   all other working conditions.”

 3          138.    Prior to and throughout the 2017 blueberry harvest in Washington, Sarbanand

 4   routinely informed all H-2A foreign workers they needed to pick two boxes of blueberries an

 5   hour or they would be fired and sent back to Mexico.

 6          139.    In late July of 2017, with one of the Munger brothers and Robert Hawk present,
 7   Nidia Perez reiterated to all the H-2A foreign workers that they had to pick two boxes of
 8   blueberries an hour or face termination.
 9
            140.    Despite not having approved production standards in its Washington H-2A job
10
     order, Sarbanand’s managers put tremendous daily pressure on the foreign H-2A workers to pick
11
     two boxes of blueberries per hour.
12
            141.    As was the company practice in California, Sarbanand’s managers in Washington
13
     routinely threatened to send the foreign H-2A workers home if they did not comply with work
14
     demands.
15
            142.    As was the company practice in California, Sarbanand’s managers in Washington
16
     routinely threatened to send the foreign H-2A workers home when they complained about
17
     working conditions.
18
            143.    In 2017, Sarbanand managers knew that if they fired an H-2A foreign worker, the
19
     worker would have to pay for his own transportation home.
20
     Sarbanand Provided Inadequate and Unhealthy Food
21
            144.    Prior to the 2017 blueberry harvest in Washington, Sarbanand knew it had a
22
     contractual obligation to provide three meals a day to all foreign H-2A workers, as stated in
23
     Section 14 of the 2017 job order.
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 1          145.    Pursuant to the job order written by Sarbanand, the company deducted $12.07 per

 2   day from the paychecks of all foreign H-2A workers to pay for these meals.

 3          146.    In 2017, Sarbanand failed to provide sufficient food to its foreign H-2A workers
 4   working in Washington and provided only uniform, meager portions to all.
 5
            147.    In 2017, Sarbanand ran out of food during some meal periods so not all foreign H-
 6
     2A workers were fed.
 7
            148.    In 2017, Sarbanand required foreign H-2A workers to line up to get their meals.
 8
            149.    In 2017, Sarbanand manager’s used a colored ink marker to put an “X” on the
 9
     hand of each foreign H-2A worker’s hand to limit their access to one uniform portion each meal.
10
            150.    In 2017, Sarbanand’s managers threatened H-2A foreign workers with
11
     termination if they violated the one portion policy.
12
            151.    In 2017, Sarbanand provided unhealthy food to its foreign H-2A workers.
13
            152.    In 2017, Munger’s owners, president, and managers were aware that foreign H-
14
     2A workers were being provided insufficient and unhealthy food in Washington.
15
            153.    In 2017, foreign H-2A workers complained to Sarbanand about inadequate and
16
     unhealthy food.
17
            154.    In 2017, Sarbanand’s managers threatened to send workers back to Mexico who
18
     complained about inadequate or unhealthy food.
19

20          155.    In 2017, Sarbanand had a company policy that banned foreign H-2A workers

21   from bringing additional food into the fields.

22          156.    In 2017, when foreign H-2A workers tried to eat under the limited shade of

23   blueberry bushes, Sarbanand managers demanded they exit the fields and threatened to fire them.


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 1          157.     In 2017, foreign H-2A workers were forced to spend personal funds above and

 2   beyond the $12.07 deducted from their paychecks to supplement inadequate meals provided by

 3   Sarbanand.

 4   Strike for Improved Working Conditions and Safety

 5          158.     In July and early August of 2017, the foreign H-2A workers worked in sunbaked
 6   fields with hazy smoke from nearby forest fires.
 7
            159.     In July and early August of 2017, Sarbanand required foreign H-2A workers to
 8
     work 12-hour shifts harvesting blueberries.
 9
            160.     During this time period, along with inadequate and unhealthy food, the foreign H-
10
     2A workers were not provided with any shade from the sun and Sarbanand failed to supply
11
     adequate water in the fields.
12
            161.     During this time period, foreign H-2A workers began to suffer various symptoms
13
     of heat stress including: dizziness, headaches, partial facial paralysis, and others.
14
            162.     In light of Sarbanand’s “death bed” no sick day policy, foreign H-2A workers did
15
     not regularly report heat stress symptoms.
16
            163.     One foreign H-2A worker in particular, Honesto Ibarra, was suffering
17
     tremendously.
18
            164.     On Wednesday, August 2, 2017, Honesto Ibarra was taken by ambulance to an
19
     emergency room after a Sarbanand office worker called 911.
20
            165.     Late at night on Thursday, August 3, 2017, foreign H-2A workers gathered
21
     together to determine what happened to Honesto Ibarra and discuss concerns about their own
22
     personal safety at work.
23

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 1          166.    Javier Sampedro, an upper-level manager at Sarbanand, was present to try and

 2   answer the workers’ questions, but his explanations were insufficient to allay their fears.

 3          167.    Many of the foreign H-2A workers gathered that night decided to go on strike the
 4   following day to improve their working conditions for themselves and all other farm workers at
 5   Sarbanand.
 6          168.    Javier Sampedro was present throughout this meeting and heard the H-2A
 7
     worker’s strike plan.
 8
            169.    On Friday, August 4, 2017, approximately 60 foreign H-2A workers stayed in
 9
     their cabins and refused to work in an effort to improve safety and health for themselves and
10
     other workers at Sarbanand.
11
            170.    On the morning of August 4, 2017, one of the striking workers called the United
12
     States Department of Labor (“DOL”) and requested an investigation.
13
            171.    Later on August 4, 2017, investigators from the Department of Labor in Seattle
14
     arrived at the Sarbanand labor camp and spoke to workers.
15
            172.    On August 4, 2017, the DOL investigators also spoke with Robert Hawk and
16
     Nidia Perez.
17
            173.    On Saturday morning, August 5, 2017, the approximately 60 foreign H-2A
18
     workers ended their strike and showed up ready for work.
19
            174.    Instead of allowing the striking workers to return to work, Sarbanand ordered all
20
     the foreign H-2A workers to line up by work crew and methodically called out the name of each
21
     striking worker and told them to report to the dining hall.
22

23

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 1             175.   Sarbanand then sent all non-striking H-2A foreign workers into the fields to begin

 2   work.

 3             176.   Once inside the dining hall, Robert Hawk, through his translator, Nidia Perez,
 4   informed all the H-2A foreign workers who had engaged in the strike the previous day that they
 5   were immediately terminated for insubordination and they had one hour to gather their
 6   belongings and leave the labor camp.
 7
               177.   Nidia Perez threatened the foreign H-2A that Sarbanand would contact the police
 8
     and immigration authorities if they did not vacate the housing within one hour.
 9
               178.   To further intimidate the workers, a Sarbanand employee filmed the meeting.
10
               179.   On August 5, 2017, neither Robert Hawk nor Nidia Perez offered to pay the
11
     transportation or meal costs of any of the terminated H-2A workers to return to Mexico.
12
               180.   Mr. Hawk, Ms. Perez, and Mr. Sampedro oversaw the extra-judicial eviction of
13
     the terminated H-2A workers by standing in front of their housing and periodically announcing
14
     the remaining time.
15
               181.   Prior to the termination, Sarbanand called the Sumas police department to inform
16
     them of the company’s termination and eviction plans.
17
               182.   Prior to the termination, Sarbanand called 911 to alert the Whatcom County
18
     Sherriff’s Department of the company’s decision to terminate approximately 70 H -2A workers
19
     for non-performance.
20
               183.   At no time did Sarbanand inform the terminated H-2A workers that they could not
21
     be forcibly and summarily evicted from their housing under threat of arrest without due process
22
     of law.
23

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 1           184.   At no time did Sarbanand tell the terminated H-2A workers that they could not be

 2   summarily evicted by the police or immigration officers without a court order.

 3           185.   Sarbanand knowingly violated Washington law to inflict serious financial harm
 4   on the foreign H-2A workers who engaged in concerted activity on Friday, August 4, 2017.
 5
             186.   Sarbanand knowingly violated Washington law in order to immediately disrupt
 6
     and eliminate all concerted activities of its foreign H-2A work force to keep them working in the
 7
     fields harvesting blueberries.
 8
             187.   Sarbanand knowingly violated Washington law in order to control and intimidate
 9
     its remaining foreign H-2A workers to remain working in the fields in fear and under the threat
10
     of serious financial harm.
11
             188.   On Sunday, August 6, 2017, Honesto Ibarra died at Harborview Medical Center
12
     in Seattle.
13
             189.   On Tuesday, August 8, 2017, Roxana Macias, CSI’s Washington state
14
     representative, showed up at the make-shift tent camp to talk with the fired and evicted workers
15
     on behalf of both Sarbanand and Munger.
16
     Factual Allegations of Plaintiff Rosas
17
             190.   In 2016, Plaintiff Rosas picked blueberries for three months in Washington state
18
     at Sarbanand Farms as an H-2A worker between July and October.
19
             191.   In 2017, CSI and Nidia Perez recruited Plaintiff Barbaro Rosas in Mexico to work
20
     as an H-2A agricultural worker to harvest blueberries for five months in California and
21
     Washington.
22
             192.   CSI and Nidia Perez failed to exhibit a current Washington farm labor
23
     contractor’s license to Plaintiff Rosas.
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 1          193.     CSI and Nidia Perez failed to disclose the amount of its bond and the existence

 2   and amount of any claims against the bond to Plaintiff Rosas.

 3          194.     CSI and Nidia Perez failed to provide to Plaintiff Rosas a written statement of the
 4   working conditions in Washington on a form prescribed by the Washington State Department of
 5   Labor and Industries.
 6          195.     CSI provided Plaintiff Rosas with a one-page document with the CSI Visa
 7
     Processing logo at the top that did not contain all the information required on the L&I form.
 8
            196.     The logo matches the logo on the back of business card for Ms. Macias.
 9
            197.     The one-page document had blank lines to fill in minimal work information
10
     including the name of the owner or company, the place and type of employment, the period of
11
     the contract, and the base pay.
12
            198.     The one-page document given to Mr. Rosas indicates that the contract will be for
13
     five months, indicating that Mr. Rosas would work both in California and Washington in 2017.
14
            199.     CSI and Nidia Perez failed to inform Plaintiff Rosas he would be required to pick
15
     two boxes of blueberries an hour at Sarbanand Farms in Washington or face termination.
16
            200.     CSI and Nidia Perez failed to inform Plaintiff Rosas that he would have to pay for
17
     his own meals above and beyond the $12.07 Sarbanand would deduct from his paycheck.
18
            201.     Plaintiff Rosas lives in impoverished town in Nayarit, Mexico.
19
            202.     Plaintiff Rosas comes to the United States to work as there is insufficient work in
20
     his town to support his family.
21

22          203.     Plaintiff Rosas worked at Munger harvesting blueberries in California in May and

23   June of 2017.


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 1            204.   Munger transferred Plaintiff Rosas to Sumas, Washington to pick blueberries for

 2   Sarbanand Farms.

 3            205.   Throughout his employment with Munger and Sarbanand, Plaintiff Rosas was
 4   repeatedly threatened with termination and being sent back to Mexico.
 5
              206.   Throughout his employment with Munger and Sarbanand, Plaintiff Rosas did not
 6
     receive sufficient or adequate meals in return for the money that was deducted from his wages.
 7
              207.   Throughout his employment with Sarbanand, Plaintiff Rosas was told he had to
 8
     pick two boxes of blueberries an hour or face termination and be sent back to Mexico.
 9
              208.   Plaintiff Rosas provided labor to Sarbanand Farms under threat of termination and
10
     deportation.
11
              209.   Plaintiff Rosas provided labor to Sarbanand due to fear that he would suffer
12
     serious financial harm if he did not meet production standards.
13
              210.   Plaintiff Rosas provided labor to Sarbanand due to fear that termination would
14
     lead to blacklisting from future H-2A employment in the United States.
15
              211.   After Honesto Ibarra was hospitalized, Plaintiff Rosas engaged in a one day strike
16
     on Friday, August 4, 2017 to improve working conditions for himself and others at Sarbanand
17
     Farms.
18
              212.   Sarbanand fired Plaintiff Rosas and summarily evicted him from his labor camp
19
     housing on Saturday, August 5, 2017 for engaging in concerted activity.
20
              213.   Sarbanand told Plaintiff Rosas he had to leave the labor camp within one hour of
21
     his termination and threatened to call the police if he failed to comply.
22

23

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 1          214.    Based on the threat to call the police, Plaintiff Rosas left his labor camp housing

 2   with all his belongings.

 3          215.    Plaintiff Rosas had nowhere to go after he was summarily evicted.
 4
            216.    Plaintiff Rosas spent 12 days stranded in a make-shift tent camp before returning
 5
     to Mexico.
 6
     Factual Allegations of Plaintiff Tapia
 7
            217.    In 2016, Plaintiff Tapia picked blueberries for three months in Washington state
 8
     for Sarbanand Farms as an H-2A worker between July and October.
 9
            218.    In 2017, CSI and Nidia Perez, recruited Plaintiff Guadalupe Tapia in Mexico to
10
     work as an H-2A agricultural worker to harvest blueberries for five months in California and
11
     Washington.
12
            219.    CSI and Nidia Perez failed to exhibit a current Washington farm labor
13
     contractor’s license to Plaintiff Tapia.
14
            220.    CSI and Nidia Perez failed to disclose the amount of its bond and the existence
15
     and amount of any claims against the bond to Plaintiff Tapia.
16
            221.    CSI and Nidia Perez failed to provide to Plaintiff Tapia a written statement of the
17
     working conditions in Washington on a form prescribed by the Washington State Department of
18
     Labor and Industries.
19
            222.    CSI provided Plaintiff Tapia with a one-page document with the CSI Visa
20
     Processing logo at the top that did not contain all the information required on the L&I form.
21
            223.    The logo matches the logo on the back of business card for Ms. Macias.
22

23

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 1          224.     The one-page document had blank lines to fill in minimal work information

 2   including only the name of the owner or company, the place and type of employment, the period

 3   of the contract, and the base pay.

 4          225.     On the one-page document given to Mr. Tapia, the period of the work contract
 5   was left blank but he understood it would be for five months.
 6          226.     The one-page document provided to Plaintiff Tapia’s brother, Jesus Tapia, states
 7
     that the period of the contract is just under five months (May 16 – Oct. 1) indicating he was
 8
     being recruited for work in Washington state.
 9
            227.     CSI and Nidia Perez failed to inform Plaintiff Tapia he would be required to pick
10
     two boxes of blueberries an hour at Sarbanand Farms in Washington or face termination.
11
            228.     CSI and Nidia Perez failed to inform Plaintiff Tapia that he would have to pay for
12
     his own meals above and beyond the $12.07 Sarbanand would deduct from his paycheck.
13
     Plaintiff Tapia lives in an impoverished town in Guanajuato, Mexico.
14
            229.     Plaintiff Tapia comes to the United States to work as there is insufficient work in
15
     his town to support his family.
16
            230.     Plaintiff Tapia worked at Munger harvesting blueberries in California in May and
17
     June of 2017.
18
            231.     Munger transferred Plaintiff Tapia to Sumas, Washington to pick blueberries for
19
     Sarbanand Farms.
20
            232.     Throughout his employment with Munger and Sarbanand, Plaintiff Tapia was
21
     repeatedly threatened with termination and being sent back to Mexico.
22

23

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 1            233.   Throughout his employment with Munger and Sarbanand, Plaintiff Tapia did not

 2   receive sufficient or adequate meals in return for the money that was deducted from his wages.

 3            234.   Throughout his employment with Sarbanand, Plaintiff Tapia was told he had to
 4   pick two boxes of blueberries an hour or face termination and be sent back to Mexico.
 5
              235.   Plaintiff Tapia provided labor to Sarbanand under threat of termination and
 6
     deportation.
 7
              236.   Plaintiff Tapia provided labor to Sarbanand due to fear that he would suffer
 8
     serious financial harm if he did not meet production standards.
 9
              237.   Plaintiff Tapia provided labor to Sarbanand due to fear that termination would
10
     lead to blacklisting from future H-2A employment in the United States.
11
              238.   After Honesto Ibarra was hospitalized, Plaintiff Tapia engaged in a one day strike
12
     on Friday, August 4, 2017 to improve working conditions for himself and others at Sarbanand
13
     Farms.
14
              239.   Sarbanand fired Plaintiff Tapia and summarily evicted him from his labor camp
15
     housing on Saturday, August 5, 2017 for engaging in concerted activity.
16
              240.   Sarbanand told Plaintiff Tapia he had to leave the labor camp within one hour of
17
     his termination and threatened to call the police and immigration if he failed to comply.
18
              241.   Based on Sarbanand’s threat to call the police and immigration, Plaintiff Tapia
19
     left his labor camp housing with all his belongings.
20
              242.   Plaintiff Tapia had nowhere to go after he was summarily evicted.
21

22            243.   Plaintiff Tapia spent 12 days stranded in a make-shift tent camp before returning

23   to Mexico.


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 1            244.   As a result of Defendants’ actions alleged herein, the Plaintiffs suffered economic

 2   damages.

 3            245.   As a result of actions by Defendants Munger and Sarbanand alleged herein, the
 4   Plaintiffs suffered emotional distress damages.
 5                                  CLASS ACTION ALLEGATIONS
 6
     A.       PLAINTIFF CLASS – ALL SARBANAND FOREIGN H-2A WORKERS
 7
              246.   Plaintiffs Barbaro Rosas and Guadalupe Tapia (“Representative Plaintiffs”) bring
 8
     this action on their own behalf and on behalf of a class of persons similarly situated, pursuant to
 9
     Federal Rules of Civil Procedure 23(a), (b)(2) and (b)(3), consisting of: All Mexican nationals
10
     who worked at Sarbanand Farms, LLC in Sumas, Washington picking blueberries pursuant to an
11
     H-2A contract that offered employment from July 2017 through October 2017.
12
              247.   The class is so numerous that joinder of all members is impracticable. The exact
13
     size of the class is not known; however on information and belief the class consists of over 600
14
     persons.
15
              248.   The representative Plaintiffs are represented by experienced counsel who will
16
     vigorously prosecute the litigation on behalf of the class.
17
              249.   Defendants have acted or refused to act on grounds generally applicable to the
18
     class, thereby making declaratory and injunctive relief appropriate with respect to the class as a
19
     whole.
20
              250.   Questions of law and fact common to the members of the class predominate over
21
     any questions affecting only individual members, and a class action is superior to other available
22
     methods for the fair and efficient adjudication of the controversy because:
23

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 1                     a.     Members of the class do not have an overriding interest in individually

 2   controlling the prosecution of separate actions:

 3                     b.     No litigation concerning this controversy has been commenced by any
 4   member of the class;
 5
                       c.     Concentration of the litigation in this forum is desirable in order to have
 6
     all claims resolved in one case; and
 7
                       d.     A class action can be managed without undue difficulty because the issues
 8
     presented are common to the class, Defendants are required to maintain detailed records
 9
     concerning each member of the class, and Plaintiffs’ counsel have experience prosecuting cases
10
     of this nature.
11
             251.      Common questions of law and fact include:
12
                       a.     Whether Defendants Munger and Sarbanand had a scheme or pattern of
13
     threatening H-2A foreign workers to cause them to believe that, if they did not perform labor or
14
     services for Sarbanand, they would suffer serious financial harm in violation of
15
     18 U.S.C. § 1589(a)(4);
16
                       b.     Whether Defendants Munger and Sarbanand abused the laws of
17
     Washington state to obtain the continued labor of its foreign H-2A workers in violation of
18
     18 U.S.C. §1589(a)(3);
19
                       c.     Whether Defendants violated Washington’s Farm Labor Contractor Act,
20
     RCW 19.30.
21
                       d.     Whether Defendants Munger and Sarbanand had a common practice of
22
     mistreating foreign H-2A workers created a hostile working environment on the basis of national
23
     origin in violation of the Washington Law Against Discrimination, RCW 49.60.180(3);
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 1          252.     The claims of Representative Plaintiffs are typical of the claims of the Plaintiff

 2   class they seek to represent, and they will fairly and adequately protect the interests of the class.

 3   B.     PLAINTIFF SUBCLASS – TERMINATED AND EVICTED H-2A WORKERS
 4          253.     Plaintiffs Barbaro Rosas and Guadalupe Tapia seek certification of an additional
 5   subclass on behalf of all persons similarly situated, pursuant to Federal Rules of Civil Procedure
 6   23(a), (b)(2), and (b)(3), consisting of: All H-2A workers who were terminated and evicted from
 7   Sarbanand Farms, LLC on August 5, 2017.
 8
            254.     The class is so numerous that joinder of all members is impracticable. The exact
 9
     size of the class is not known; however on information and belief the class consists of over 60
10
     persons.
11
            255.     The representative Plaintiffs are represented by experienced counsel who will
12
     vigorously prosecute the litigation on behalf of the class.
13
            256.     Defendants Munger and Sarbanand have acted or refused to act on grounds
14
     generally applicable to the subclass, thereby making declaratory and injunctive relief appropriate
15
     with respect to the subclass as a whole.
16
            257.     Questions of law and fact common to the members of the class predominate over
17
     any questions affecting only individual members, and a class action is superior to other available
18
     methods for the fair and efficient adjudication of the controversy because:
19
                     a)     Members of the class do not have an overriding interest in individually
20
     controlling the prosecution of separate actions;
21
                     b)     No litigation concerning this controversy has been commenced by any
22
     member of the class;
23

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 1                     c)     Concentration of the litigation in this forum is desirable in order to have

 2   all claims resolved in one case; and

 3                     d)     A class action can be managed without undue difficulty because the issues
 4   presented are common to the class, Defendants are required to maintain detailed records
 5   concerning each member of the class, and Plaintiffs’ counsel have experience prosecuting cases
 6   of this nature.
 7
              258.     Common questions of law and fact include:
 8
                       a)     Whether Defendants Munger and Sarbanand engaged in a common
 9
     practice that illegally retaliated against foreign H-2A workers who engaged in concerted activity
10
     to improve their working conditions in violation of public policy and Washington’s Little Norris-
11
     LaGuardia Act RCW 49.32.020;
12
                       b)     Whether Defendants Munger and Sarbanand engaged in the common
13
     practice of illegally evicting foreign H-2A workers who engaged in concerted activity under
14
     threat of arrest by police or immigration authorities in violation of Washington’s landlord-tenant
15
     and property laws.
16
              259.     The claims of the Representative Plaintiffs are typical of the claims of the
17
     subclass they seek to represent, and they will fairly and adequately protect the interests of the
18
     class.
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 1                                        CAUSES OF ACTION

 2   A.     PLAINTIFF CLASS – ALL SARBANAND FOREIGN H-2A FIELD WORKERS

 3   TVPA - 18 U.S.C. § 1589(a)(4)

 4          260.    Defendants Munger and Sarbanand engaged in a scheme or pattern of threatening

 5   foreign H-2A workers to cause them to believe that, if they did not perform labor or services for

 6   Sarbanand, they would suffer serious financial harm in violation of 18 U.S.C. § 1589(a)(4).

 7   TVPA - 18 U.S.C. § 1589(a)(3)

 8          261.    Defendants Munger and Sarbanand engaged in a common practice that abused the
 9   laws of Washington state to obtain the continued labor of its foreign H-2A workers in violation
10   of 18 U.S.C. §1589(a)(3).
11   WASHINGTON FARM LABOR CONTRACT ACT – RCW 19.30
12
            262.    Defendants Munger and Sarbanand knowingly used the services of an unlicensed
13
     farm labor contractor in 2017 in violation of RCW 19.30.200.
14
            263.    Defendants CSI and Nidia Perez failed to obtain and carry a current farm labor
15
     contractor’s license at all times and exhibit it to the Plaintiffs in violation of RCW 19.30.110(1).
16
            264.    Defendants CSI and Nidia Perez failed to obtain a bond and disclose the existence
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     and amount of that bond to the Plaintiffs in violation of RCW 19.30.110(2).
18
            265.    Defendants CSI and Nidia Perez failed to furnish to the Plaintiffs a written
19
     statement on the form prescribed by the Washington State Department of Labor and Industries
20
     describing the compensation to be paid and other terms and conditions of employment in
21
     violation of RCW 19.30.110(7).
22
            266.    Defendants CSI and Nidia Perez made or caused to be made false, fraudulent or
23
     misleading representations concerning the terms or conditions of employment when each of them
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 1   failed to inform the Plaintiffs of daily production standard requirements in violation of RCW

 2   19.30.120(2).

 3          267.     Defendants CSI and Nidia Perez made or caused to be made false, fraudulent or

 4   misleading representations concerning the terms or conditions of employment when each of them

 5   failed to inform the Plaintiffs that they would have to pay for their own food in addition to

 6   having $12.07/day deductions from their wages in violation of RCW 19.30.120(2).

 7   WASHINGTON LAW AGAINST DISCRIMINATION – RCW 49.60.180(3)

 8          268.     Defendants Munger and Sarbanand had a common practice of mistreating its
 9   foreign H-2A workforce that created a hostile work environment based on national origin and
10   violated the Plaintiffs’ right to be free from discrimination in employment in violation of RCW
11   49.60.180(3).
12   WASHINGTON CONTRACT LAW
13
            269.     Defendants Munger and Sarbanand breached their contractual obligation to allow
14
     H-2A foreign worker to work at a pace that was “reasonable under the climatic and all other
15
     working conditions” when they engaged in the common practice of imposing production
16
     standards requiring workers to pick two boxes of blueberries per hour.
17
            270.     Defendants Munger and Sarbanand breached their duty of good faith and fair
18
     dealing when they engaged in the common practice of imposing hourly production standards
19
     requiring workers to pick two boxes of blueberries per hour in contrast to the plain language of
20
     its 2017 job orders.
21
            271.     Defendants Munger and Sarbanand breached their contractual obligation to
22
     provide three adequate meals per day to foreign H-2A workers pursuant to its 2017 job orders.
23

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 1            272.   Defendants Munger and Sarbanand breached their duty of good faith and fair

 2   dealing when they failed to provide three adequate meals per day to foreign H-2A workers.

 3            B.     PLAINTIFF SUBCLASS – TERMINATED AND EVICTED H-2A WORKERS
 4   WASHINGTON’S LITTLE NORRIS-LAGUARDIA ACT - RCW 49.32.020

 5            273.   Defendants Munger and Sarbanand engaged in the common practice of illegally
 6   retaliating against H-2A foreign workers who engaged in concerted activity to improve their
 7   working conditions in violation of public policy and Washington’s Little Norris-LaGuardia Act
 8   RCW 49.32.020.
 9   WRONGFUL DISCHARGE IN VIOLATION OF PUBLIC POICY
10
              274.   The actions of Defendants Munger and Sarbanand in terminating the Plaintiff
11
     subclass also amounted to a wrongful discharge in violation of public policy under Washington
12
     common law.
13
     WRONGFUL EVICTION
14
              275.   Defendants Munger and Sarbanand engaged in the common practice of illegally
15
     evicting H-2A foreign workers who engaged in concerted activity under threat of arrest by police
16
     or immigration authorities in violation of Washington’s landlord-tenant and property laws.
17
                                           PRAYER FOR RELIEF
18
              Plaintiffs ask this Court to grant them the following relief:
19
              1.     Certify this action as a class action pursuant to Fed. R. Civ. P. 23(b)(2) and
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     23(b)(3);
21
              2.     Designate the named Plaintiffs as class representatives pursuant to Fed. R. Civ. P.
22
     23(a);
23

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 1           3.     Appoint Columbia Legal Services and Schroeter Goldmark & Bender as class

 2   counsel pursuant to Fed. R. Civ. P. 23(g);

 3           4.     Enter a permanent injunction against Defendants Munger and Sarbanand from
 4   interfering with the rights of the Plaintiff class to engage in concerted activity under
 5   Washington’s Little Norris-LaGuardia Act:
 6           5.     Enter a permanent injunction against Defendants Munger and Sarbanand from
 7
     threatening H-2A foreign workers with deportation to coerce them to continue providing labor to
 8
     the company;
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             6.     Enter a permanent injunction against Defendants Munger and Sarbanand from
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     informing H-2A foreign workers they must work in the fields unless they are on their death bed;
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             7.     Enter a permanent injunction against Defendants Munger and Sarbanand from
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     imposing production standards on persons hired under an H-2A contract unless approved through
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     annual wage and working condition surveys of Washington agricultural workers;
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             8.     Enter a permanent injunction against Defendants Munger and Sarbanand from
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     threatening to evict labor camp occupants under threat of arrest by the police or immigration
16
     authorities;
17
             9.     Enter a permanent injunction requiring Defendants Munger and Sarbanand to
18
     inform all H-2A foreign workers that under Washington law they can only be evicted after
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     notice, a court hearing, and a neutral judge signs a court order;
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             10.    Disgorge from Defendants Munger and Sarbanand and award to the Plaintiffs and
21
     other members of the class all profits gained from the forced labor Defendants Munger and
22
     Sarbanand imposed on H-2A foreign workers, including the imposition of illegal production
23
     standards, pursuant to 18 U.S.C. §1595(a) and Washington contract law;
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 1          11.      Award punitive damages to the Plaintiffs and other members of the class pursuant

 2   to 18 U.S.C. §1595(a) as Defendants Munger and Sarbanand recklessly violated Plaintiffs’ rights

 3   by abusing its authority over its H-2A workforce;

 4          12.      Award to the Plaintiffs and other members of the class actual damages or $500
 5   per person per violation, whichever is greater, for each FLCA violation pursuant to RCW
 6   19.30.170(2).
 7
            13.      Award to the Plaintiffs and other members of the class sums Defendants deducted
 8
     from their paychecks for three meals per day pursuant to Washington contract law;
 9
            14.      Award to the Plaintiffs and other members of the subclass lost wages pursuant to
10
     18 U.S.C. §1595(a), RCW 49.32.010, and Washington common law;
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            15.      Award attorney fees and costs pursuant and 18 U.S.C. §1595(a), RCW
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     49.60.030(2), and, RCW 19.30.170(1); and,
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            16.      Grant other further relief as just and appropriate.
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 1   DATED this 7th day of March, 2018.

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1                                      CERTIFICATE OF SERVICE

2           I hereby celiify that on this 7th day of March, 2018, I electronically filed the foregoing

3    document with the Clerk of the Court using the CM/ECF system, which will send notification of

4    such filing to the following:

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     the following non-CM?ECF patiicipants: None.
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                                                           Rachael Pashkowski
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